       Case 19-16737-amc                    Doc 47 Filed 04/30/22 Entered 05/01/22 00:28:02                                              Desc Imaged
                                                 Certificate of Notice Page 1 of 2
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                                 Case No. 19-16737-amc
Tamara C. Miller                                                                                                       Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0313-2                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Apr 28, 2022                                               Form ID: 234                                                               Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 30, 2022:
Recip ID                  Recipient Name and Address
db                      + Tamara C. Miller, 908 Green Street, Norristown, PA 19401-3914

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 30, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 28, 2022 at the address(es) listed below:
Name                               Email Address
DAVID B. SPITOFSKY
                                   on behalf of Debtor Tamara C. Miller spitofskybk@verizon.net
                                   spitofskylaw@verizon.net;spitofsky.davidb.r112243@notify.bestcase.com

JAMES RANDOLPH WOOD
                                   on behalf of Creditor Municipality of Norristown jwood@portnoffonline.com jwood@ecf.inforuptcy.com

KARINA VELTER
                                   on behalf of Creditor Bridgecrest Credit Company LLC kvelter@hoflawgroup.com, ckohn@hoflawgroup.com

SCOTT F. WATERMAN (Chapter 13)
                          ECFMail@ReadingCh13.com

United States Trustee
                                   USTPRegion03.PH.ECF@usdoj.gov


TOTAL: 5
 Case 19-16737-amc           Doc 47 Filed 04/30/22 Entered 05/01/22 00:28:02                      Desc Imaged
                                  Certificate of Notice Page 2 of 2
                             UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re: Tamara C. Miller
               Debtor(s)                                  Case No:19−16737−amc
                                                          Chapter: 13
_____________________________________________________________________________________________

                               NOTICE OF TERMINATION OF WAGE ORDER

                                           NOTICE IS GIVEN THAT:



1. The Standing Chapter 13 Trustee has filed a notice indicating that all plan payments have been made.


 2. Pursuant to the Amended Standing Order of this Court, Misc. No. 22−03003, any wage order entered
in this case has been TERMINATED and the employer shall cease wage withholding EFFECTIVE
IMMEDIATELY upon receipt of notice of the termination of the wage order.


3. Pursuant to the Standing Order, the Debtor(s) counsel must serve this Notice on the employer FORTHWITH.




                                                                                 For The Court



                                                                                 Timothy McGrath,
                                                                                 Clerk of Court
Date: 4/28/22




                                                                                                                46
                                                                                                          Form 234
